  Case 17-21146       Doc 24   Filed 09/07/17 Entered 09/07/17 17:26:07              Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )               BK No.:     17-21146
Beth A Pikelny                                )
                                              )               Chapter: 13
                                              )
                                                              Honorable Timothy Barnes
                                              )
                                              )
               Debtor(s)                      )

                                        Order Confirming Plan

         The plan under Chapter 13 of the Bankruptcy code, filed as docket No. 21, having been found
by the Court to comply with the provisions of the 11 U.S.C. section 1325, THE PLAN IS HEREBY
CONFIRMED.

All property of the estate, as specified by the 11 U.S.C. section 541 and 1306, will continue to be
property of the estate following confirmation, unless (1) the plan provides for surrender of the property,
or (2) the property is sold pursuant to the plan or court order.




                                                           Enter:


                                                                    Honorable Timothy A. Barnes
Dated: September 07, 2017                                           United States Bankruptcy Judge
